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FOR THE wEsV;]FEE:']-E\IERI:\]ISDTII:IIICSTIO<;;]F TENNESSEE 05 JUH m PM w 143
.'“.SBE.".T a ¢--z ;
BARRY F:ALA, INC., `?[DV£`EJLL"';"¢"\J. ;E§T:§F§
Plaintiff,
vS_ NO. 02-2248-Ma

STORED VALUE SYSTEMS, INC.,

Defendant.

 

ORDER STAYING PROCEEDINGS

 

Before the court is the June 7, 2005, joint motion of the
parties for a stay of this proceeding to allow the parties an
opportunity to pursue mediation of this matter. For good cause
shown, the motion is granted. This case is stayed until July 15,
2005, to allow time for mediation efforts of the parties.

A status conference is set Wednesday, July 20, 2005, at 9:00
a.m., at which time the parties will report to the court on the
status of mediation. If the matter has not been settled, the
court will conduct a scheduling conference at that time.

it is go 0RDERED this /°/Lday Of June, 2005.

J#c%/“L~._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 181 in
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Honorable Samuel Mays
US DISTRICT COURT

